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EXHIBIT

c

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

(Northern Division)
TEREKA MARSHALL *
Plaintiff *
v. * Civil Action No. 1:20-CV-1565

WAL-MART REAL ESTATE BUSINESS

TRUST, et al. *
Defendants *
% * * * * * * x * * * * *

ANSWERS TO PLAINTIFE’S INTERROGATORIES

TO: TEREKA MARSHALL, PLAINTIFF

FROM: WALMART INC., DEFENDANT

Defendant Walmart Inc. (“Walmart”), by and through its attorneys, Jennifer M.
Alexander, Esquire, Kelly S$. Kylis, Esquire, and McNamee, Hosea, Jernigan, Kim, Greenan and
Lynch, P.A., answers Interrogatories from Plaintiff Tereka Marshall and states:

a. The information supplied in these Answers is not based solely upon the
knowledge of the executing party, but includes the knowledge of the party’s agents,

representatives, and attorneys, unless privileged.

b. The word usage and sentence structure is that of the attorneys who in fact
prepared these Answers and language does not purport to be the exact language of the executing
party.

C. The Interrogatories have been interpreted and answered in accordance with the
Maryland Rules of procedure, plain English usage, and to the extent not specifically challenged
by objection, the definitions and instructions included with the Interrogatories.

d. Defendant reserves the right to amend or supplement these answers as new
material information is discovered.

  
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Defendant’s knowledge at this time. Investigation and discovery are ongoing and Defendant
reserves the right to supplement this Answer.

INTERROGATORY NO. 20: Identify any procedures which you followed, at and
before the time of the Occurrence in question, concerning the inspection, maintenance, and
cleaning of the area where Plaintiff's injuries occurred.

ANSWER TO NO. 20: Defendant objects to this Interrogatory as irrelevant,
overbroad, unduly burdensome, not reasonably limited in time, location, or scope relevant to
Plaintiff's alleged occurrence, and for these reasons not reasonably calculated to lead to the
discovery of admissible evidence. Defendant further objects to the extent this Interrogatory
seeks confidential and proprietary corporate information. Without waiving objection, see
Answer to Interrogatory No. 10. Investigation and discovery are ongoing and Defendant
reserves the right to supplement this Answer.

INTERROGATORY NO. 21: Identify any warnings, whether verbal or written (such as
by a sign, or otherwise), which were given to the Plaintiff prior to the Incident concerning the
condition which Plaintiff claims caused or contributed to the Occurrence.

ANSWER TO NO. 21: Objection. Defendant had no notice, actual or constructive,
of the clear liquid on the floor prior to Plaintiff's alleged occurrence and Defendant had no duty
to warn of an unknown condition. Without waiving objection, none. Investigation and
discovery are ongoing and Defendant reserves the right to supplement this Answer.

INTERROGATORY NO, 22: At the time of Plaintiffs injury, if you contend that any
person or entity other than you and your employees and agents was responsible for the
inspection, maintenance, and/or repair of the area where Plaintiff was injured, state each and
every fact on which you base your contention and identify each and every writing that supports
the contention.

ANSWER TO NO. 22: Defendant does not so contend.

INTERROGATORY NO. 23: Describe in detail any conversations you have had with
the Plaintiff regarding the Incident.

9.
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I SOLEMNLY AFFIRM UNDER THE PENALTIES OF PERJURY THAT THE FOREGOING
IS TRUE AND ACCURATE TO THE BEST OF MY KNOWLEDGE, INFORMATION AND
BELIEF.

 

Christopher Jones, Asset Protection Manager

 

Jennifer Mj Alexander \
jalexandey@mhlawyers.com
Fed. Bar No,: 15222

Kelly S. Kylis
kkylis@mhlawyers.com

Fed Bar. No.: 14126
MCNAMEE HOSEA JERNIGAN KIM
GREENAN & LYNCH, P.A.
888 Bestgate Road, Suite 402
Annapolis, MD 21401

Phone: 410-266-9909

Fax: 410-266-8425

Attorneys for Defendants

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that, on this 8"" day of October 2020, a copy of the foregoing
Answers to Interrogatories were e-mailed and mailed first-class mail, postage prepaid, to:

Thomas C, Costello, Esq.

Matthew T. Holley, Esq.
COSTELLO LAW GROUP

409 Washington Avenue, Suite 410
Towson, Maryland 21204
Attorneys for Plaintiff

 

Jennifer " Alexaider\ Esquire

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